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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                             8:12-CR-358

vs.
                                             MEMORANDUM AND ORDER
ULISES DE JESUS CAMPOS-
ALMAZAN,

                 Defendant.


      The above-named defendant is seeking relief under 28 U.S.C. § 2255
and is eligible for appointment of counsel pursuant to the Criminal Justice
Act, 18 U.S.C. §3006A, and Amended Criminal Justice Act Plan for the
District of Nebraska. Accordingly,

      IT IS ORDERED:

      1.   The Federal Public Defender for the District of Nebraska is
           appointed, and shall promptly enter an appearance as
           counsel for the above-named defendant.

      2.   The Clerk shall provide a copy of this order to the Federal
           Public Defender for the District of Nebraska and to the
           appointed attorney.

      3.   The Clerk shall mail a copy of this order to the defendant at
           his address of record.

      Dated this 16th day of June, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
